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     THOMAS A. JOHNSON, #119203
 1
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 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3   Attorney for Defendant, Dominick West
 4
 5                                     IN THE UNITED STATES DISTRICT COURT
 6                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                        )
 8   UNITED STATES OF AMERICA,                          )   Case No.: 2:08-cr-00240-EJG
                                                        )
 9                        Plaintiff,                    )   STIPULATION AND ORDER TO
                                                        )   CONTINUE JUDGMENT AND
10       v.                                             )   SENTENCING
     DOMINICK WEST,                                     )
11                                                      )   Date: May 14, 2010
                          Defendant                     )   Time: 10:00 a.m.
12                                                      )   Judge: Hon. Frank C. Damrell, Jr.
                                                        )
13                                                      )
14
15             IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the Judgment
16   and Sentencing scheduled for May 14, 2010 at 10:00 a.m. is to be continued to June 4, 2010 at
17   10:00 a.m. in the same courtroom. Thomas A. Johnson, Defendant’s attorney, and Carolyn
18   Delaney, Assistant United States Attorney, agree and stipulate to the continuance. The
19   continuation is requested because the United States Probation Officer needs additional time to
20   complete the Probation Report.
21             The parties stipulate and agree that the interests of justice served by granting the
22   continuance outweigh the best interests of the public and the defendant in a speedy trial. 18
23   U.S.C. § 3161(h)(7)(A). It is further stipulated that the period from the date of this stipulation
24   through and including June 4, 2010 be excluded in computing the time within which trial must
25   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local
26   ///////////////////////////
27   //////////////////////////
28   //////////////////////////




                                        STIPULATION AND ORDER                -1-
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 1   Code T2 and T4 for continuity and preparation of counsel.
 2
 3            IT IS SO STIPULATED.
 4   DATE: April 1, 2010                                          /s/ Thomas A. Johnson_____
                                                                  THOMAS A. JOHNSON
 5                                                                Attorney for Defendant
                                                                  DOMINICK WEST
 6
 7
     DATE: April 1, 2010                                          LAWRENCE G. BROWN
 8                                                                United States Attorney
 9                                                       By:       /s/ Thomas A. Johnson for
                                                                  CAROLYN DELANEY
10                                                                Assistant U.S. Attorney
11
              IT IS SO ORDERED.
12
13
14   Dated:    April 1, 2010
15
16
                                                /s/ Edward J. Garcia
17                                              HON. EDWARD J. GARCIA
                                                U.S. District Court Judge
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                               STIPULATION AND ORDER              -2-
